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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                               Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                            Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                               Defendants.

             JOINT REPORT OF THE PARTIES PURSUANT TO RULE 26(f)

        Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, a telephone conference

 was held on November 29, 2017 by and between counsel for Plaintiffs and counsel for

 Defendants Michael Hill, Michael Tubbs, League of the South, James Fields, Matthew Parrott,



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 Nationalist Front, Christopher Cantwell, National Socialist Movement, Jeff Schoep, Elliot Kline

 (a/k/a Eli Mosely), Jason Kessler, Traditionalist Working Party, Nathan Damigo, Vanguard

 America, Robert Ray, Matthew Heimbach, and Identity Evropa. Defendant Michael Peinovich

 participated by email. Defendant Loyal White Knights of the KKK has been served but has not

 entered an appearance, and so did not participate in the conference. Remaining Defendants

 Andrew Anglin, Moonbase Holdings, LLC, Richard Spencer, East Coast Knights of the KKK,

 Augustus Sol Invictus, and Fraternal Order of the Alt-Knights have not yet been served. The

 following is the Rule 26(f) schedule and report, which the parties jointly prepared.

 1.     Pre-Discovery Disclosure Orders: The parties discussed extending the deadline for Rule

        26(a)(1) initial disclosures but were unable to come to agreement as to how long to

        extend. The Parties’ positions are as follows.

        a.      Plaintiffs’ Position – Plaintiffs propose that disclosures be submitted by

                December 20, 2017, or seven (7) days following the entry by the Court of a

                confidentiality order, whichever is later. The parties will file a proposed

                confidentiality order, or competing proposed orders, by December 11, 2017. This

                provides parties with a one week extension to the deadline provided for in this

                Court’s pre-trial order. Such an extension would provide parties with nearly two

                months since the filing of the complaint to identify the information required to be

                disclosed by Rule 26(a)(1). At this juncture, Plaintiffs believe there is no reason

                to halt discovery, and Defendants have identified no reason why they will be

                unable to provide the necessary disclosures within the time provided for by

                Plaintiffs’ proposal. Moreover, should Defendants come into possession of

                additional information called for by Rule 26, they can supplement their



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              disclosures. That additional information may eventually be discovered is no

              reason not to begin discovery in such a significant litigation.

       b.     Defendants’ Position –

                  i. Defendants Christopher Cantwell, Nathan Damigo, Matthew Heimbach,

                     Identity Europa, Jason Kessler, Elliot Kline, National Socialist Movement,

                     Nationalist Front, Matthew Parrott, Jeff Schoep, Traditionalist Worker

                     Party, Vanguard America, Robert Ray, James Fields, and Michael

                     Peinovich agree to an initial disclosure date of December 20, 2017 and to

                     a proposed confidentiality order date of December 11, 2017.

                 ii. Defendants League of the South, Michael Hill and Michael Tubbs object

                     to the December 20 date for initial disclosures because of the volume of

                     potential discovery. Also, defendants League of the South, Michael Hill,

                     and Michael Tubbs have filed a Rule 12(b)(6) motion so they are unaware

                     of what defenses they may or may not assert. Delaying initial disclosures

                     until January 15, 2018 would save the parties’ resources and save the need

                     for significant supplemental disclosures. Defendants League of the South,

                     Michael Hill and Michael Tubbs further request a stay on depositions and

                     interrogatories until the court has ruled on their Rule 12(b)(6) motion.

 2.    Discovery Plan/Case Schedule: The parties have agreed to confer upon a trial date within

       six months of the Rule 26(f) conference. Additionally, the parties have agreed upon the

       following discovery schedule:

       a.     Close of Fact Discovery: 150 Days Prior to trial

       b.     Opening Expert Reports: 120 Days Prior to trial



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       c.      Rebuttal Expert Reports: 90 Days Prior to trial

       d.      Complete Expert Discovery: 75 Days prior to trial

       All other deadlines in the Court’s pre-trial order would remain in effect. At this time, the

       parties have not agreed upon any changes to the limitations on discovery imposed under

       the Federal Rules of Civil Procedure or the Western District of Virginia Local Rules but

       have agreed to meet and confer as discovery proceeds to determine if any changes will

       need to be made. The parties further have the following positions concerning the

       depositions of certain parties:

            a. Defendants’ Position – Defendants propose that any and all depositions of

               Defendants facing criminal charges related to the incidents sued upon shall occur

               after the criminal case has been tried or a plea agreement has been accepted by the

               Court as to that Defendant.

            b. Plaintiffs’ Position – Plaintiffs propose that all depositions for all defendants

               proceed pursuant to the schedule set forth in this paragraph.

 3.    Issues of Confidentiality: The parties intend to meet and confer concerning a

       confidentiality order to be entered by the Court, which will include provisions for the

       handling of privileged or otherwise protected information. The parties will submit a

       proposed confidentiality order, or competing proposed orders, by December 11.

 4.    Electronically Stored Information (“ESI”) Discovery: As this case will involve the

       collection and exchange of a large volume of electronic communications, the parties

       intend to meet and confer to establish a robust ESI protocol to be entered by the Court.

 5.    Magistrate Jurisdiction: The parties do not unanimously consent to the jurisdiction of and

       entry of judgment by the United States Magistrate Judge pursuant to 28 U.S.C. 636(c).



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 6.    Prospect of Settlement: The parties have discussed settlement and do not believe that this

       case is in a posture where it can be settled. Parties will continue to consider settlement as

       the case progresses.

 7.    Mediation: The parties do not believe that mediation would be productive at this time.

 8.    Other Necessary Orders the Court Should Issue Under Rule 26(c) or under Rule 16(b)

       and (c): Counsel have not identified any such orders at this time.

 Dated: December 6, 2017

 SEEN AND AGREED:

  ATTORNEYS FOR PLAINTIFFS                           ATTORNEYS FOR DEFENDANTS

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